8:02-cr-00164-LSC-TDT      Doc # 462     Filed: 12/28/05    Page 1 of 1 - Page ID # 1437




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )              CASE NO. 8:02CR164
                                            )
             Plaintiff,                     )
                                            )
             vs.                            )                    ORDER
                                            )
YAMIL RIVERA-KADER,                         )
                                            )
             Defendant.                     )


      This matter is before the Court on the government’s request for stay pending

resolution of the appeal of the Magistrate Judge’s Order Setting Conditions of Release.

      IT IS ORDERED that the Order Setting Conditions of Release (Filing No. 459) is

stayed pending resolution of the Appeal (Filing No. 461) from the Order.

      DATED this 28th day of December, 2005.

                                                BY THE COURT:

                                                s/Laurie Smith Camp
                                                United States District Judge
